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United States Distriot Court »’w,h \ ’/3~'3@

 

 

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Eastern D1v1310r1 -~L/,./i-G,i%g/>
JUDGMENT IN A CIVIL CASE
TERRY MATTHEWS, MIKE VANCE
and ROBERT JAGGERS,
V.
MCNAlRY COUNTY, TENNESSEE and CASE NUMBER; 1:03-1210-T/An

TOMMY R|LEY, in his Officia| Capacity
as Sheriff of N|cNairy County and
|ndividua||y,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 6/23/2005, the defendant’s |Vlotion for Summary Judgement
is GRANTED and this case is hereby D|SM|SSED.

APPROVED:

 

 

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DATE * DEPUTY cLERK

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This document entered on the docket sheet in compliance

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with F<ule ss and/or 79(3) FRcP on w 535

 

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This notice confirms a copy of the document docketed as number 53 in
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June 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

